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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF SOUTH DAKOTA
                             CENTRAL DIVISION



LOWER BRULE SIOUX TRIBE; and
individual members Neil Pierre Russell,
Stephanie Bolman, Ben Janis,

     Plaintiffs,                                Case No. 3:22-cv-03008-RAL

v.                                              PARTIES’ DISCOVERY REPORT AND
                                                     PLAINTIFFS’ PROPOSED
LYMAN COUNTY; LYMAN COUNTY                             DISCOVERY PLAN
BOARD OF COMMISSIONERS;
BRIAN KRAUS, in his official capacity as
Lyman County Commissioner; LESLIE
REUER, in her official capacity as Lyman
County Commissioner; ZANE REIS, in
his official capacity as Lyman County
Commissioner; RYAN HUFFMAN, in his
official capacity as Lyman County
Commissioner; JARED SCHELSKE, in his
official capacity as Lyman County
Commissioner; and DEB HALVERSON,
in her official capacity as Lyman County
Auditor,

      Defendants.




        The parties hereby submit for the Court’s consideration their Discovery Report

pursuant to Fed. R. Civ. P. 26(f), and Plaintiffs’ proposed Discovery Plan, in

accordance with this Court’s Order dated August 12, 2022 (ECF No. 56).




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       Plaintiffs’ proposed Discovery Plan sets forth deadlines designed to expedite

trial. Plaintiffs request an expedited trial in light of the important claims asserted and

in order to provide Plaintiffs full relief.

       Defendants intend to file a motion to dismiss for lack of subject matter

jurisdiction and mootness and propose staying the setting of many discovery

deadlines until their motion is ruled on.

       The parties’ respective positions are indicated below.

A.   Date and Place of the Meeting and Identification of the Parties, their Attorneys,

     and Insurers

1.   Counsel for the parties participated in a Rule 26(f) conference on

     September 9, 2022, via telephone.

2.   Plaintiffs’ addresses: Lower Brule Sioux Tribe, 187 Oyate Cir., Lower Brule,

     SD 57548; Neil Pierre Russell, Post Office Box 58, Lower Brule, SD 57548;

     Stephanie Bolman, 33948 238th St., Reliance, SD 57569; and Ben Janis, Post

     Office Box 246, Lower Brule, SD 57548

     Defendants’ addresses: Lyman County, 300 Main Street, Kennebec, SD

     57544; Brian Kraus, 23961 335th Ave., Reliance, SD 57569; Leslie Reuer,

     33149 245th St., Reliance, SD 57569; Zane Reis, 300 E. 3rd St., Oacoma, SD

     57365; Ryan Huffman, 412 S. Main Ave., Vivian, SD 57576; Jared Schelske,

     300 W. Everett St., Kennebec, SD 57544-5108; and Deb Halverson, 300 Main

     Street, Kennebec, SD 57544.




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        Samantha B. Kelty and Michael S. Carter for Plaintiffs and Sara

        Frankenstein for Defendants attended the meeting.

3.      Defendants’ liability insurance carrier who may have coverage or limited

        coverage is South Dakota Public Assurance Alliance (SDPAA).

B.      Description of the Case 1

C.      Pleadings

7.      All pleadings have been filed and the parties at this time do not anticipate

        any amendments.

8.      The parties agree that any amendments to the pleadings be filed by

        September 23, 2022.

9.      Trial of this case will be nonjury.

D.      Initial Discovery Plan

10.     Prediscovery disclosures required under Rule 26(a)(1) will be completed

        by September 16, 2022. The parties further agree that all documents

        previously exchanged and exhibits introduced at the Preliminary

        Injunction hearing will be considered part of the disclosure and do not

        need to be re-exchanged.

E.      Discovery Plan

11.     The parties plan on negotiating and drafting Electronically Stored Information

        (ESI) protocols.




1   Not included per the Court’s permission (ECF No. 56 ¶ B).

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12.   The parties will limit interrogatories to 25 per party; requests for production to 50

      per party; and requests for admission to 30 per party.

13.   The maximum number of depositions by each party (excluding expert witness

      depositions) is 10 per party.

14.   Depositions will be limited to 7 hours.

15.   Plaintiffs propose that all discovery (including expert discovery) will be completed

      by November 18, 2022. Defendants disagree.

16.   Plaintiffs intend to call a Racially Polarized Voting Expert as well as a Senate

      Factors and Arlington Heights Expert at trial. Defendants intend to call expert(s)

      to be determined at a later date.

17.   Plaintiffs propose that each party shall disclose the identity of expert witnesses

      and disclose the reports, including supplemental reports, required under Rule

      26(a)(2) by November 22, 2022. Defendants disagree.

18.   The parties anticipate expert depositions.

19.   Each party shall be permitted to take 1 deposition of each expert, unless experts

      produce supplemental reports, in which case experts may be deposed again

      regarding the supplement.

20.   Plaintiffs propose that discovery responses be supplemented pursuant to Rule

      26(e) within 5 days of learning that in some material respect the disclosure or

      response is incomplete or incorrect, and if the additional or corrective information

      has not otherwise been made known to the other parties during the discovery

      process or in writing.

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      Defendants propose that discovery responses be supplemented pursuant to Rule

      26(e) within 30 days of learning that in some material respect the disclosure or

      response is incomplete or incorrect, and if the additional or corrective information

      has not otherwise been made known to the other parties during the discovery

      process or in writing.

F.    Dispositive Motions and Trial

21.   Plaintiffs propose all dispositive motions shall be filed December 1, 2022, with

      responses due December 20, 2022, and replies due January 5, 2023. Defendants

      disagree.

22.   The parties estimate needing 5 days for trial.

23.   The parties do not consent to assignment of the case to a United States Magistrate

      Judge.

G.    Settlement

24.   Plaintiffs made a written settlement demand to Defendants before the Rule 26(f)

      meeting on September 9, 2022. Counsel for the parties discussed the demand at

      the meeting, and Defendants will provide a written response after considering the

      offer at a duly called meeting of the Board of Commissioners.

 Dated this 22nd day of September 2022

 ___________________________________
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 RANDY SEILER LAW OFFICE, LLC               THE LAW OFFICE OF BRYAN L. SELLS,
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                              CERTIFICATE OF SERVICE

       I hereby certify that on September 22, 2022, I filed Plaintiffs’ PARTIES’

DISCOVERY REPORT AND PLAINTIFFS’ PROPOSED DISCOVERY PLAN using

the Court’s CM/ECF system. Service of the foregoing document was completed on

September 22, 2022, via email to Sara Frankenstein, attorney for the Defendants.

Sara Frankenstein
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sfrankenstein@gpna.com
Attorney for the Defendants

Defendants listed here:

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 Brian Kraus                               Jared Schelske
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 Leslie Reuer                              Deb Halverson
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                                            Randolph J. Seiler
